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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAII

  HEIDI PURCELL, M.D., FACOG, et al.              CIV. NO. 1:17-00493-
                                                  JAO-RT
                    Plaintiffs,
                                                  UNOPPOSED MOTION
  v.                                              FOR 2ND EXTENSION
                                                  OF TIME TO FILE
  ROBERT F. KENNEDY, JR., et al.,                 REPLY AND JOINT
                                                  APPENDIX AND 1ST
                    Defendants.                   CONTINUANCE OF
                                                  HEARING
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        Pursuant to Federal Rule of Civil Procedure 6(b), Defendants respectfully

  move that this Court extend Defendants’ deadline to file a reply in support of their

  motion for summary judgment by 60 days, from March 14, 2025, to May 13, 2025.

  To accommodate this extension, Defendants respectfully ask this Court to extend

  the parties’ deadline to file a joint appendix to May 27, 2025, and postpone the

  hearing on the cross-motions for summary judgment (currently scheduled for April

  25, 2025) until a later date. Plaintiffs have informed Defendants through counsel

  that they take no position on this motion. Good cause exists to grant Defendants an

  extension, as set forth herein.

        1.     Under the stipulated schedule entered by this Court on July 29, 2024,

  Plaintiffs’ deadline to file their motion for summary judgment was September 30,

  2024; Defendants’ deadline to file their combined cross-motion for summary

  judgment and opposition to Plaintiffs’ motion for summary judgment was

  November 26, 2024; Plaintiffs’ deadline for their combined reply and opposition

  was January 17, 2025; Defendants’ deadline for their reply was February 28, 2025;

  and the parties’ deadline for the joint appendix was March 14. ECF No. 211.

        2.     On September 30, 2024, the Court granted a joint motion extending

  Plaintiffs’ deadline to move for summary judgment to October 2, 2024. ECF No.

  219. Plaintiffs filed their motion for summary judgment on that date. ECF No. 221.




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        3.     On November 25, 2024, this Court entered a stipulation extending (1)

  Defendants’ deadline to file their combined cross-motion for summary judgment

  and opposition to Plaintiffs’ motion for summary judgment to December 3, 2024;

  (2) Plaintiffs’ deadline to file their combined reply and opposition to January 31,

  2025; (3) Defendants’ deadline to file their reply to March 14, 2025; and (4) the

  parties’ deadline to file the joint appendix to March 28, 2025. ECF No. 225.

        4.     Pursuant to the revised schedule, Defendants filed their combined

  cross-motion for summary judgment and opposition to Plaintiffs’ motion for

  summary judgment on December 3, 2024, ECF Nos. 226 & 228, and Plaintiffs

  filed their combined reply and opposition on January 31, 2025, ECF No. 230.

        5.     On February 6, 2025, this Court set a hearing for April 25, 2025.

        6.     A 60-day extension of Defendants’ reply deadline and the parties’

  joint appendix deadline (and postponement of the hearing) is warranted to ensure

  that the new Administration, which took office on January 20, 2025, is able to

  familiarize itself with the issues in this case. The requested extension is consistent

  with extensions that have been granted or that are being sought in other

  mifepristone-related litigation. See Missouri v. FDA, 2:22-cv-223-Z, ECF No. 241

  (N.D. Tex. Mar. 4, 2025) (formerly Alliance for Hippocratic Medicine) (granting

  defendants’ motion for 60-day extension to enable new Administration to

  familiarize itself with issues); Washington v. FDA, 1:23-cv-3026-TOR, ECF. No.


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  175 (E.D. Wa. Dec. 23, 2024) (granting joint motion to extend plaintiffs’ deadline

  by 60 days to enable new states attorneys general to familiarize themselves with

  issues and to also extend defendants’ reply deadline by 60 days to May 30, 2025).

        7.      Defendants therefore respectfully request that the Court grant this

  unopposed motion for an extension of time and set the following deadlines:

             a. Defendants shall file their reply in support of their motion for

                summary judgment no later than May 13, 2025;

             b. The parties shall prepare, and Plaintiffs shall file, a joint appendix

                containing portions of the administrative record cited in the parties’

                briefs no later than May 27, 2025;

             c. A hearing for oral argument on the cross-motions for summary

                judgment on a date after May 27, 2025.

        This would be the second extension of Defendants’ reply deadline and the

  parties’ joint appendix deadline, See ECF No. 225 (extending both deadlines by 14

  days), and the first postponement of the hearing scheduled by this Court. The

  extension requested by Defendants would not affect word limits previously ordered

  by the Court.

  March 6, 2025                               Respectfully submitted,

                                                  /s/ Noah T. Katzen
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